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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        WAYCROSS DIVISION

COALITION FOR GOOD
GOVERNANCE and DONNA                         Civil Action No. 5:23-mc-00001-
CURLING,                                     LGW-BWC

Plaintiffs,                 In RE Subpoenas issued by the
                            United States District Court
v.                          For the Northern District of
                            Georgia, Atlanta Division,
COFFEE COUNTY BOARD OF Civil Action File No. 1:17-CV-
ELECTIONS AND REGISTRATION, 2989-AT

Defendant.

          PLAINTIFFS’ MOTION FOR IN CAMERA REVIEW
     OF ITEMS DESIGNATED BY DEFENDANT AS PRIVILEGED

                               Background Facts

      Plaintiffs Coalition for Good Governance (“CGG”) and Donna Curling

brought this action to enforce two Subpoenas to Produce Documents (the

“Subpoenas”) issued by the United States District Court for the Northern

District of Georgia, Atlanta Division in Curling, et al. v. Raffensperger, et al.,

No. 1:17-CV-2989-AT (“Curling”) and served on the Coffee County Board of

Elections and Registration (CCBOER).           (See Doc. 1).    One document

subpoena was served by the “Coalition Plaintiffs,” including CGG, on July

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25, 2022. (Doc. 1-1). A related document subpoena was served by the

“Curling Plaintiffs,” including Donna Curling, on June 15, 2022. (Doc. 1-2).

     CCBOER objected to the production of certain purportedly privileged

documents. CCBOER’s original privilege log consisted of 3 ½ pages and

seventeen (17) categories of documents for which a privilege was asserted.

CGG challenged that log as failing to comply with the requirement for

privilege logs under the Federal Rules, and the Court agreed, directing

CCBOER to provide a more detailed log by January 3, 2024. When CCBOER

served its New Log on that date, the log had grown from 3 ½ pages to 311

pages.

     As the Court is aware, the Curling trial commenced on January 9, 2024.

Counsel for the parties negotiated regarding certain of the documents

included in the log. Plaintiffs’ counsel sent an email to CCBOER’s counsel

attaching a spreadsheet with ninety (90) documents identified in the New

Log which appear to have no basis for the assertion of a privilege or for

which the privilege would have been plainly waived, if one ever existed.

CCBOER has withdrawn its objections for the overwhelming majority of

those documents, and those documents have been produced. However,

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since the Curling trial commenced, the trial team’s attention has been single-

mindedly focused on the trial.

     Plaintiffs filed a motion for an extension of time, seeking to have the

Court allow it to file any motion to compel related to the privilege log until

the trial was complete. The Court issued an Order last week requiring that

any such motion be filed today. Because the Curling trial team has remained

largely unavailable, a comprehensive review of the privilege log by the

lawyers with hands-on involvement in discovery related to the Coffee

County elections systems breach was not possible. Hence, this motion is

limited to a single issue: whether the privilege is waived by the inclusion of

non-clients in confidential, privileged communications. Specifically,

whether copying Charles Dial, an independent contractor, on otherwise

privileged communications waives the privilege.

     On January 29, 2024, CGG has identified twenty-five (25) documents

from the privilege log on which Mr. Dial was included either as an author, a

primary recipient, or a copied recipient.1 When advised that these


1 CGG could not provide the list of challenged documents to CCBOER earlier

because the undersigned counsel was unable to confer with his client or co-
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designations would be challenged, CCBOER’s counsel contended that

CCBOER did not “believe we would have had a reason to reevaluate the

privilege assertion as to those documents.” See Email from Benjamin Perkins

to Cary Ichter dated January 29, 2024, attached hereto as Exhibit “A.”

                   Argument and Citation of Authority

     "The    attorney-client   privilege   exists   to   protect   confidential

communications between client and lawyer made for the purpose of

securing legal advice." In re Grand Jury Proceedings 889, 899 F.2d 1039,

1042 (11th Cir. 1990). "The party invoking the attorney-client privilege has

the burden of proving that an attorney-client relationship existed and that

the particular communications were confidential." Bogle v. McClure, 332 F.3d

1347, 1358 (11th Cir. 2003) (citations and internal quotation marks omitted).



counsel until this past weekend. The document numbers as reflected on the
New Privilege Log are as follows: xREL0000009758, xREL0000009874,
xREL0000066837, xREL0000066859, xREL0000069112, xREL0000068604,
xREL0000068638, xREL0000068642, xREL0000068776, xREL0000071160,
xREL0000071219, xREL0000071225, xREL0000072573, xREL0000072582,
xREL0000071323, xREL0000071492, xREL0000074286, xREL0000071709,
xREL0000071786,            xREL0000072218,       xREL0000074756.0002,
xREL0000081145,            xREL0000080987,       xREL0000081419.0001,
xREL0000081601.0002


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       "To determine if a particular communication is confidential and

protected by the attorney-client privilege, the privilege holder must prove

the communication was ‘(1) intended to remain confidential and (2) under

the    circumstances   was reasonably expected     and   understood     to   be

confidential.'" Id. (quoting United States v. Bell, 776 F.2d 965, 971 (11th Cir.

1985)).

       A communication with an independent contractor also has to satisfy

the test used to examine the applicability of the attorney-client privilege in

the corporate-employee setting. That test provides that:

       the attorney-client privilege is applicable to an [independent
       contractor's] communication if (1) the communication was made
       for the purpose of securing legal advice; (2) the [independent
       contractor] making the communication did so at the direction of
       [the corporation]; (3) the [corporation] made the request so that
       the corporation could secure legal advice; (4) the subject matter
       of the communication is within the scope of the [independent
       contractor's] duties; and (5) the communication is not
       disseminated beyond those persons who, because of the
       corporate structure, need to know its contents.

Id. at 936 (quoting Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 599 (8th

Cir. 1977) (brackets added)). The burden is on the party claiming the




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privilege "to show that the communications at issue meet all of the [five]

requirements." Id. (brackets added).

     In order to assess whether the communications with Charles Dial

qualify for the protection afforded privileged materials, this Court would

need to review the communications to determine if the communication was

made for the purpose of securing legal advice; whether the communication

was made at the direction of CCBOER; whether the CCBOER made the

communication to secure legal advice; whether the subject matter of the

communication is within the scope of the Mr. Dial’s duties; and whether the

communication was disseminated to more persons than those with a need

to know its contents. That would require the Court to review each of the 25

communications at issue.

     Accordingly, Plaintiffs request that the Court conduct an in camera

review of the 25 documents identified by Plaintiffs, and if the Court finds

that the privilege has been waived (or does not otherwise apply), direct

CCBOER to produce the documents to Plaintiffs.




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 Respectfully submitted this 29th day of January, 2024.

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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 29, 2024, a copy of the foregoing

Plaintiffs’ Motion for In Camera Review of Items Designated By Defendant

As Privileged was electronically filed with the Clerk of Court using the

CM/ECF system which will automatically send notification of such filing to

all attorneys of record.

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